Case 3:18-cv-00296-MMD-CLB Document 23-1 Filed 07/19/18 Page 1 of 1

Case 3:18-cv-00296-LRH-VPC Document 22 Filed 07/13/18 Page 1 of 6

o0 oo NN DA HW 2 WwW NHN =

~—_
oO

 

wv vw
2 Set PBEREPES Se VAD EBH EA

 

 

 

 

 

 

 

 

Tesla, Inc.,
Plaintiff(s),
vs.
Martin Tripp, an individual,
Defendant(s).
Marshall A. Camp , Petit
(name of petitioner)
1. That Petitioner is an attorney at I
Hueston Hi
(in
with offices at 523 W
¢
Los Angeles _
(city)
(213) 788-4340 |
(area code + telephone number)
2. . That Petitioner has been retaine<
_Tesla, Inc.
(client(s))

the above-entitled case now pending before thi:

a)
i)
$n
@)
o
te:
%
» 7
= §%
A
3 2
n m4
" ~- ™
™ om ri
=m oO nm
= WB “|
Whe tt
"9 9g
wre ps rs
TRS gl og
ay) og,
ye en
Lo Bert wo
oA Tyg hos
Dol, Mon
en tt b> 2
= a ~
~~ arc om
lee mS
“0 +
= ». Thao
=. >
Sere Oy
aly 2
“S wo Hy O
ra eg ™
= 3ga
re Ox fw
Ila 3 Mt
oe MS tA o
aS mM a
ah mM
‘pe : Co te
Whe a 3 t
nc We =
zo .
iat ee
&

 

vEPES AN Ssyleds

>N
Ene
+O
nace
ATH
Os
rs
5°
a |
o
9
0)
2
o
<

SHY ee.

 

   
   
   

ae ae

boy

SS3NISNE WiIdIs40
LOS68 VOVAAN ‘ONSY *~

LOE NOOY “LS WINISUIA Hinds
. :WOWAAN JO.L0iH46I0 ©

1HNOOD LOIWLSIC ‘S'N ‘Wy319

is
4

c

fe

AY .
MY
Oocin
hue ‘9
.. Us
CT 2
to
ow fy

Me ZO
10568 diz 3

000 $

9Loz €+ Inf SLOOSE0000
